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    9
   10                      UNITED STATES DISTRICT COURT
   11        CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
   12
   13 NEMAN BROTHERS & ASSOC.,                   Case No. 2:20-cv-11181-CAS-JPRC
      INC., a California Corporation,
   14                                            REPLY IN SUPPORT OF MOTION
                   Plaintiff,                    FOR SUMMARY JUDGMENT ON
   15                                            COPYRIGHT REGISTRATION
            v.                                   INVALIDITY; MEMORANDUM OF
   16                                            POINTS AND AUTHORITIES IN
      INTERFOCUS, INC. d.b.a.                    SUPPORT THEREOF
   17 www.patpat.com, a Delaware                  Date: December 6, 2021
      Corporation; CAN WANG, and                  Time: 10:00 am
   18 individual, and DOES 1-10, inclusive.,      Courtroom: 8D
   19              Defendants.                   The Hon. Christina A. Snyder
   20
      INTERFOCUS, INC. d.b.a.
   21 www.patpat.com, a Delaware
      Corporation; CAN WANG, an
   22 individual, and DOES 1-10, inclusive,
   23              Counterclaim Plaintiffs,
   24        v.
   25 NEMAN BROTHERS & ASSOC.,
      INC., a California Corporation,
   26
                   Counterclaim Defendant.
   27
   28
           REPLY ISO MOTION FOR SUMMARY JUDGMENT ON COPYRIGHT REGISTRATION INVALIDITY;
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    1                MEMORANDUM OF POINTS AND AUTHORITIES
    2 I.      INTRODUCTION
    3         Plaintiff Neman Brothers, Inc’s opposition seeks to avoid the fatal
    4 consequences of its own misconduct by mischaracterizing undisputed facts and
    5 disputing factual and legal irrelevancies. Its arguments should be rejected, and the
    6 Copyright Office should be asked whether it would have refused Neman Brothers’
    7 group registrations based on the true facts concerning them. If the Copyright Office
    8 says it would have refused those registrations, this Court should grant summary
    9 judgment that Neman Brothers’ registrations are invalid as a matter of law and
   10 dismiss its complaint with prejudice for the reasons described below.
   11 II.     DEFENDANTS’ ARGUMENT ABOUT THE 2019 GROUP
              REGISTRATION REGULATIONS CANNOT DEFEAT SUMMARY
   12
              JUDGMENT.
   13         Plaintiff’s argument that the 2019 regulations that currently govern group
   14 registrations of unpublished works “did not exist” when it submitted the three
   15 registrations at issue (Opposition 3-5) cannot defeat summary judgment for several
   16 reasons.
   17       First, it is more distraction than argument. The Copyright Office has limited
   18 group registrations of unpublished works to works that include the same author
   19 since 1978, and Neman Brothers’ group registrations have never complied with
   20 those limitations. The Copyright Office regulations in effect when Neman Brothers
   21 filed the three group registrations at issue mandated that “at least one of the authors
   22 has contributed copyrightable authorship to each element” for the collection of
   23 individual elements (works) to qualify as a group registration. See former 37 CFR
   24 202.3(b)(4)(B)(4) (2010), https://www.govinfo.gov/content/pkg/CFR-2010-title37-
   25 vol1/pdf/CFR-2010-title37-vol1-sec202-3.pdf. Yoel Neman admitted that Neman
   26 Brothers’ group registrations did not comply with this regulation, because they
   27 improperly included works it purchased from third parties, to which Neman
   28 Brothers did not “contribute copyrightable authorship,” as described in the present
                                               1
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    1 motion. This failure alone is fatal to its group copyright registrations, as Neman
    2 Brothers has not and cannot dispute in its opposition.
    3         Second, Neman Brothers’ arguments about the inapplicability of the 2019
    4 amendments to the group registration regulations misses the point of InterFocus’
    5 citation to them. The 2019 amendments make even clearer that “[a]ll works
    6 [identified in the group registration of unpublished works] must be created by the
    7 same author or the same joint authors, and the author and claimant information for
    8 each work must be the same.” 37 C.F.R. § 202.4(c)(5),
    9 https://www.law.cornell.edu/cfr/text/37/202.4. This amended language underscores
   10 the intent of the original regulation, and makes even more obvious that Neman
   11 Brother’s group registrations’ inclusion of works by unrelated third party authors is
   12 disqualifying.
   13         Neman Brothers cannot avoid the fatal defects in its group registrations under
   14 applicable regulations by arguing about the 2019 amendments to them. Summary
   15 judgment should be granted.
   16 III.    NEMAN BROTHERS’ ARGUMENT THAT IT CHANGED SOME OF
              THE THIRD-PARTY WORKS IN THE GROUP REGISTRATION
   17
              CANNOT DEFEAT SUMMARY JUDGMENT.
   18         Neman Brothers’ argument that it modified some third party works it included
   19 in the group registrations (Opp. 5), implying that it thereby “contributed
   20 copyrightable expression” to them without expressly saying so, cannot defeat
   21 summary judgment for several reasons.1
   22     First, it is contrary to Neman Brothers’ admissions. Yoel Neman, the
   23 President, Administrator, and agent of Neman Brothers who certified the
   24
   25
        1
        While Neman Brothers’ brief attempts to elevate its modification of some third
   26 party works to a “standard practice,” Opp. 5, the declaration provided to “support”
   27 that claim only says that Neman Brothers “usually” made changes to third party
      works, and says nothing about Neman Brothers’ “standard practice.” (Dkt. No. 71-2
   28 ¶ 12.) Even that testimony creates no material dispute of fact as shown below.
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    1 authenticity of the three registrations at issue, admitted they included works
    2 purchased from third parties. (See November 1, 2021 Declaration of Mark S. Lee
    3 [“Nov. 1 Lee Decl.’] Ex.1, Yoel Neman Deposition (“Neman Depo.”). 26:16-24,
    4 133:22-134:12.) Neman Brothers could not have “contributed copyrightable
    5 expression” to such works, since they were created by someone other than Neman
    6 Brothers. Further, while in deposition he testified at length about Neman Brothers’
    7 modifying and registering subsequent versions of some third-party designs, he
    8 testified that such modified versions were marked with an “x” following the Neman
    9 Brothers’ Identification number. (Id., Y. Neman Depo. 86:22-90:14.2) Neman
   10 Brothers used one “x” to indicate a first modified version, “x2” to identify a second
   11 version, “x3” identifying a third version, etc. (Id., Neman Depo. 87:5-88:24.) And if
   12 there was no “x” designation at the end of the identification number, it would be an
   13 original version, regardless of who created it. (Id., Neman Depo. 87:21-89:1.)
   14          Thus, Mr. Neman’s testimony establishes that the three group registrations at
   15
        2
   16     Mr. Neman testified in relevant part:
        “Q Do you know how many others of the designs shown on this copyright
   17   registration were designs that Neman Brothers purchased?
               A All of them.
   18   Q Okay.
               A I mean, I don't know but either we bought or we -- we did it through pull
   19   outs of the design that we buy.
        Q All right.
   20          A I know some of them are -- the one that says X, I think it's a version of the
        original design.
   21   Q Ah. So if there's an X designation after the number, that would mean that it was
        a—a second version or a sixth version or whatever version the number might be
   22   following of a design that Neman Brothers had registered before?
               A Right.
   23   Q Okay. And some of them were purchased by Neman Brothers, is that correct?
               A Yes.
   24   Q And some of them were created by Neman Brothers itself, is that also correct?
               A Yes.
   25   Q All right. Now, I see the one that's circled in red at the bottom, NB161106, does
        not have an X after it?
   26          A Right.
        Q Does that indicate that that was an original style that was registered at that time?
   27          A Yes.”
                            (Nov. 1 Lee Decl. Ex. 1, Neman Depo. 87:21-89:1.)
   28
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    1 issue included unmodified “original versions” of third-party fabric designs Neman
    2 Brothers purchased. It did not “contribute copyrightable authorship” to those third
    3 party works, as required by the regulations in effect when they were registered. And
    4 they therefore should be held invalid.
    5          For example, there are 12 “x” designated works out of a total of 16 individual
    6 works identified on the first registration at issue, which Mr. Neman testified were
    7 “all” third party works. (Id., Neman Depo. 87:21-24.) That means that four third
    8 party works in this registration were not later versions, but instead were original
    9 versions created by third parties. Neman Brothers bases its copyright infringement
   10 claims on one of those four “original” versions as described above, namely NB
   11 Design 161106. (Id; Neman Depo. 88:20-89:1.) It was a third-party work authored
   12 by a European design studio. (Id., Neman Depo. 66:12-68, 87:5-17.) Thus, this
   13 group registration included four third party works for which Neman Brothers did not
   14 “contribute copyrightable expression” as required by the applicable group
   15 registration, and it should be invalidated.
   16         There are only three “x” designation works out a total of 108 individual works
   17 identified in the second registration at issue, even though Mr. Neman testified that
   18 this registration also included works Neman Brothers purchased. This establishes
   19 that it, too, included “original version” third party works, and that Neman Brothers
   20 did not “usually” modify such works when it included them in a registration. (Id.,
   21 Neman Depo. 66:12-68:1, 114:7-116:15, 118:6-119:4 and Ex. 27 thereto.)
   22         Finally, there are 43 “x’ designation works out of 95 individual works
   23 identified in the third registration at issue. The third individual work at issue in this
   24 case is included in that third group registration and identified as NB Design 180228.
   25 Mr. Neman admitted that it, too, was a third-party design created by a European
   26 design studio, and it, too, was not a later “x” version. (Nov. 1 Lee Decl. Ex.1 and
   27 Reply Lee Decl. Ex. 4, Neman Depo. 70:11-71:5, 129:3-130:1, 131:13-25 and Ex.
   28
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    1 33 thereto.)3
    2         Taken together, Mr. Neman’s deposition testimony and these three group
    3 registrations establish that, consistent with Neman Brothers’ usual practice in filing
    4 group registrations as described in his deposition, many works in those registrations
    5 were third party works for which Neman Brothers did not “contribute copyrightable
    6 authorship,” making them ineligible for group registration under the regulations that
    7 governed them.
    8         Second, to the extent the vague claim in Adrineh Mokhtarian’s declaration
    9 that Neman Brothers “usually” made changes to third party works (Dkt. No. 71-2 ¶
   10 12) is somehow intended to dispute Yoel Neman’s deposition admissions and the
   11 conclusive evidence in Neman Brothers’ copyright registrations, it cannot do so.
   12 Any such an attempt would make her declaration a sham affidavit that cannot defeat
   13 summary judgment. Hambleton Bros. Lumber Co. v. Balkin Enterprises, Inc., 397 F.
   14 3d 1217, 1224 (9th Cir. 2005).
   15         Third, Ms. Mokhtarian’s declaration testimony does not dispute Y. Neman’s
   16 deposition admissions on the merits. Testimony about what Neman Brothers
   17 “usually” did, without reference to the three copyright registrations at issue or what
   18 Neman Brothers did or did not do with regard to the individual works they identify,
   19 does not show that Neman Brothers “contributed copyrightable authorship to each”
   20 work in the three group registrations at issue, as the applicable group registration
   21 regulations require. 37 CFR 202.3(b)(4)(B)(4) (2010) (emphasis added).
   22         Further, Ms. Mokhtarians’ declaration does not provide a foundation to
   23 support an argument that “each” work in all three group registrations was modified
   24 by Neman Brothers. She most obviously does not declare that all Neman Brothers
   25 third party works were “modified” before registration. She does not declare that
   26
        3
   27   Pages 130 and 131 from Yoel Neman’s deposition were not included in Exhibit 1
      filed November 1, 2021, so InterFocus concurrently provides those with this reply as
   28 concurrent Lee Decl. Ex. 4.)
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    1 each third-party work in the three group registrations at issue was “modified” before
    2 registration. She literally says nothing to dispute Yoel Neman’s deposition
    3 testimony that Neman Brothers included “original version” third party works in the
    4 three group registrations in violation of the applicable regulations.
    5          Further, her declaration does not identify which of the works in the three
    6 group registrations at issue were originally authored by third parties. It does not
    7 explain why the two group registrations Mr. Neman testified included two “original
    8 version” third party works should be permitted when they did not comply with
    9 Neman Brothers’ alleged “usual” actions. It does not claim that any third-party work
   10 that did not include the “x” designation was “modified” before the filing of the
   11 registrations. It does not explain what “modifications” Neman Brothers claims it
   12 made to the third party works it says were modified in the three group registrations,
   13 so the Copyright Office could determine whether Neman Brothers’ “modifications”
   14 qualified as “contributed copyrightable expression” to each of them. Even if not
   15 barred by the sham affidavit rule cited above, absent such evidence there is no
   16 material factual dispute, and no reason to deny summary judgment on the copyright
   17 invalidity issue based on Mr. Neman’s testimony and the group registrations at
   18 issue.
   19          Having invoked the significant benefits of the group registration regulation,
   20 Neman Brothers must strictly comply with its requirements. “[C]ompliance with the
   21 applicable regulations should be strictly enforced[,]” Palmer/Kane LLC v. Rosen
   22 Book Works LLC, 204 F. Supp. 3d 565, 571 (S.D.N.Y. 2016), and this Court should
   23 strictly enforce the regulation against Neman Brothers’ belated attempt to get its
   24 benefits without complying with its provisions. After input from the Copyright
   25 Office that it would have refused the registrations at issue if it had known they
   26 included works to which Neman Brothers did not contribute copyrightable
   27 expression, this Court should invalidate those registrations and grant summary
   28 judgment to InterFocus.
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     1 IV.     NEMAN BROTHERS’ “WORK MADE FOR HIRE” ARGUMENTS
               CANNOT DEFEAT SUMMARY JUDGMENT.
     2
               Neman Brothers’ argument that the present motion should be denied because
     3
         InterFocus accurately quoted 17 U.S.C. §408(c)(2), which requires that another type
     4
         of group registration be limited to “a group of works by the same individual author”
     5
         (Opp. 5-7) is an irrelevant distraction that cannot defeat summary judgment.
     6
         Summary judgment should not be denied because InterFocus accurately quoted the
     7
         referenced statute. That statute demonstrates that Congress was concerned enough
     8
         about limiting group registrations to common authorship groups that it mandated
     9
         such for the group registration it described.
   10
               Further, Neman Brothers’ lengthy discussion of “work made for hire”
   11
         authorship is irrelevant to this motion because InterFocus has never disputed that
   12
         Neman Brothers was the owner of the works its employees authored on a “work
   13
         made for hire” basis. (Although Neman Brothers does improperly fail to identify
   14
         them as “works made for hire” in the group registrations, as described in Neman
   15
         Brothers’ motion and herein.)
   16
               This Court should not be distracted by such irrelevancies. Neman Brothers’
   17
         lengthy argument on an issue InterFocus has not disputed demonstrates that, unable
   18
         to prevail on the merits, it prefers to talk about something else. Such arguments
   19
         cannot defeat summary judgment.
   20
         V.    NEMAN BROTHERS’ “NO WRITTEN ASSIGNMENT” ARGUMENT
   21          CANNOT DEFEAT SUMMARY JUDGMENT.
   22          Neman Brothers’ argument that this Court should not consider Neman
   23 Brothers’ inability to produce a written assignment for one of the three works at
   24 issue in this case (Opp. 7-8), which InterFocus raised in a footnote, is another
   25 irrelevant distraction that cannot defeat summary judgment. The case law Neman
   26 Brothers cites at length only applies when undisputed evidence establishes that there
   27 is no dispute between potential copyright claimants as to ownership and both
   28 potential owners are parties to the lawsuit, or where those same parties retroactively
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     1 document the transfer as required by the Copyright Act. See, e.g., Jules Jordan
     2 Video, Inc. v. 144942 Canada Inc., 617 F.3d 1146, 1157 (9th Cir. 2010) (“it would
     3 be unusual and unwarranted to permit third parties…to avoid a suit for infringement
     4 when there is no dispute between the two potential owners, and both are plaintiffs to
     5 the lawsuit”)(emphasis added); Magnuson v. Video Yesteryear, 85 F.3d 1424, 1428-
     6 29 (9th Cir. 1996) (authorizing retroactive written transfer agreement where no
     7 dispute between the contracting parties as to earlier oral assignment).
     8         Here, there is no evidence that the European design studio from whom Neman
     9 Brothers says it acquired that fabric design agrees that Neman Brothers owns it.
   10 That European design house is, self-evidently, not a plaintiff in this lawsuit. There is
   11 no retroactive written assignment from the design house to Neman Brothers. Thus,
   12 the cited authorities do not apply here on their own terms,
   13          Further, Neman Brothers’ arguments cannot affect the fundamental problem
   14 with its group registrations, which is its improper claim to authorship of third party
   15 works to which it did not contribute copyrightable expression. The cited decisions
   16 say nothing about group registrations, or when the Copyright Office would
   17 invalidate group registrations filed contrary to the requirements of those regulations,
   18 or anything at all about any copyright registrations. They are irrelevant to the
   19 disqualifying defects in the group registrations at issue, and they cannot defeat
   20 summary judgment for these reasons.
   21 VI.      NEMAN BROTHERS’ “SUPPLEMENTATION” ARGUMENTS
               CANNOT DEFEAT SUMMARY JUDGMENT.
   22
               Neman Brother’s arguments that a few of the many apparently undisputed
   23
         inaccuracies and omissions in its registrations only require “supplementation” rather
   24
         than “invalidation” under the law applicable when it filed them (Opp. 9-11) cannot
   25
         defeat summary judgment for several reasons.
   26
               First, Neman Brothers’ argument has been refuted by the Ninth Circuit Court
   27
         of Appeals, which expressly holds that knowing omissions and inaccuracies in
   28
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     1 group registrations that the Copyright Office says would have caused it to refuse
     2 them invalidates the group registrations as a matter of law. Unicolors, Inc. v. H&M
     3 Hennes & Mauritz, L.P., 959 F.3d 1194, 1197 (9th Cir. 2020 (reversing and
     4 remanding judgment for plaintiff because the district court did not refer the
     5 copyright registration validity question to the Copyright Office in the first instance);
     6 Gold Value International Textile, Inc. v. Sanctuary Clothing, LLC, 925 F. 3d 1140
     7 (9th Cir. 2019) (affirming summary judgment for defendant on copyright
     8 infringement claim because the group registration at issue knowingly combined
     9 published and unpublished fabric designs in violation of Copyright Office’s
   10 regulations for registration of unpublished collections.) Both of those decisions, like
   11 this case, involved group registrations obtained before the current 2019 group
   12 registration regulation. Id. Neman Brothers’ citation to earlier authorities, many of
   13 which are from other circuits, involve only individual registrations, or do not
   14 involve registrations at all, cannot affect the above-described recent, binding, Ninth
   15 Circuit authority.
   16          Second, Neman Brothers seeks to “cherry pick” and discuss only a few
   17 specific defects in its registrations while ignoring the many other failures that doom
   18 its argument. It does not address Neman Brothers’ fundamental and knowing failure
   19 to limit the group registrations to works in which it contributed copyrightable
   20 expression as described above. That error could not be fixed by “supplementation.”
   21 Supplementing the group registrations to state that Neman Brothers did not
   22 contribute copyrightable expression to some of the works in them would only make
   23 clear that it never qualified for group registration in the first instance. None of the
   24 authorities Neman Brothers cites hold otherwise.
   25         Nor does Neman Brothers attempt to address how the totality of the
   26 intentional errors and omissions in its group registrations affect the validity of those
   27 registrations, or whether the Copyright Office would have refused the registrations if
   28 it had known accurate information concerning them. Those errors and omissions
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     1 include, for example:
     2        a) Neman Brothers’ failures to include “the name and nationality or domicile
     3           of the author or authors” for each of the third-party created works as
     4           required by 17 U.S.C. § 409(2). Neman Brothers “supplementing” its
     5           registrations to provide that information would only make clearer that they
     6           included works to which it did not contribute copyrightable expression,
     7           which therefore would disqualify the group registration regulation as
     8           described above.
     9        b) Neman Brothers’ failure to include “a brief statement of how the claimant
   10            obtained ownership of the copyright” of those third party works as
   11            required by by17 U.S.C. § 409(5), which also would have demonstrated
   12            that the group registrations included works to which Neman Brothers did
   13            not contribute copyrightable expression as required by applicable
   14            regulations.
   15 Neman Brothers provides no authority on how the Copyright Office would react to
   16 registrations that violated the Copyright Act and relevant Copyright Office
   17 regulations in the many ways Neman Brothers’ registrations did.
   18         Third, Neman Brothers’ argument improperly asks this Court to decide an
   19 issue Congress and the Ninth Circuit have directed should first be determined by the
   20 Copyright Office as described in the moving papers and below. Thus, the Copyright
   21 Office, rather than this Court, should initially decide these issues.
   22         The accurate information the Copyright Office should initially evaluate to
   23 determine whether it would have refused the group registration are:
   24         a) Neman Brothers’ inclusion in the registrations of works that were authored
   25            by third parties to which Neman Brothers contributed no copyrightable
   26            expression;
   27         b) Neman Brothers’ intentional failures to identify all authors of all works in
   28            the group registrations, which would have revealed that it did not
                                                -10-
            REPLY ISO MOTION FOR SUMMARY JUDGMENT ON COPYRIGHT REGISTRATION INVALIDITY;
                      MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF
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     1           contribute copyrightable expression to some works;
     2        c) Neman Brothers’ failure to identify that it acquired some of the works in
     3           the registrations by assignment, which also would have revealed that it did
     4           not contribute copyrightable expression to the assigned works;
     5        d) Neman Brothers’ failure to describe the “work made for hire” status of
     6           only some of the included individual works, thereby again revealing that
     7           some of the works were not authored by Neman Brothers; and
     8        e) Neman Brothers’ failure to identify preexisting works, or provide a brief
     9           general statement of the new material it added to some works, so that the
   10            Copyright Office could have determined whether Neman Brothers
   11            contributed copyrightable expression to them.
   12         All of this information is required by 17 U.S.C. § 409, and missing from
   13 Neman Brothers’ group registrations. The Copyright Office should decide whether
   14 accurate information on those subjects would have caused it to refuse these
   15 registrations. Neman Brothers’ attempts to persuade this Court to decide these issues
   16 in the first instance is misplaced.
   17 VII.    NEMAN BROTHERS’ ARGUMENT THAT 17 U.S.C. § 411(b)(2) IS
              NOT “TRIGGERED” LACKS MERIT AND CANNOT DEFEAT
   18
              SUMMARY JUDGMENT.
   19         Neman Brothers’ final argument that its knowing inaccuracies in the group
   20 registrations at issue should not be sent to the Copyright Office for evaluation
   21 because the statute authorizing such actions is not “triggered” (Opp. 11-12) lacks
   22 merit for several reasons.
   23        First, the undisputed facts establish that 17 U.S.C. § 411(b)(2) is triggered
   24 under the plain language of the relevant statute and binding Ninth Circuit authority.
   25 The relevant statute states that “[i]n any case in which inaccurate information
   26 described under paragraph (1) is alleged, the court shall request the Register of
   27 Copyrights to advise the court whether the inaccurate information, if known, would
   28 have caused the Register of Copyrights to refuse registration.” 17 U.S.C. §
                                              -11-
             REPLY ISO MOTION FOR SUMMARY JUDGMENT ON COPYRIGHT REGISTRATION INVALIDITY;
                       MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF
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     1 411(b)(2). That is precisely what happened here, and precisely why the Copyright
     2 Office should advise this Court on the issues raised as described above.
     3         Second, as described in InterFocus’ motion, the Ninth Circuit has instructed
     4 that the above statute is triggered “once a defendant alleges that (1) a plaintiff’s
     5 certificate of registration contains inaccurate information; (2) ‘the inaccurate
     6 information was included in the application for copyright registration’; and (3) the
     7 inaccurate information was included on the application ‘with knowledge that it was
     8 inaccurate.’”. Unicolors, Inc. v. H&M Hennes & Mauritz, L.P., 959 F.3d 1194, 1197
     9 (9th Cir. 2020). InterFocus has presented undisputed evidence of those facts here.
   10 Thus, as instructed by the Ninth Circuit, this Court should submit a request to the
   11 Register of Copyrights “to advise the court whether the inaccurate information, if
   12 known, would have caused [it] to refuse registration.” Id.
   13 VIII. CONCLUSION.
   14          The validity or invalidity of Neman Brothers’ three copyright registrations at
   15 issue should be referred to the Copyright Office for a determination whether it
   16 would have refused those registrations if it had known the true facts, and following
   17 that determination, summary judgment should be granted in InterFocus’ favor for all
   18 the reasons described above.
   19
   20                                             RIMON, P.C.
   21 Dated: November 22, 2021
   22                                         By: /s/ Mark S. Lee
   23                                             Mark S. Lee
                                                  Zheng Liu
   24
                                                  Attorneys for Defendants and
   25                                             Counterclaim Plaintiffs
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                                                  www.patpat.com
   27
   28
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             REPLY ISO MOTION FOR SUMMARY JUDGMENT ON COPYRIGHT REGISTRATION INVALIDITY;
                       MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF
